     Case 3:16-cv-02084-M Document 21 Filed 05/12/17                          Page 1 of 13 PageID 296



                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

BRONCHEE CATHCART,                                  §
                                                    §
                  Plaintiff,                        §
                                                    §    CIVIL ACTION NO. 3:16-cv-02084-M
v.                                                  §
                                                    §
YP ADVERTISING & PUBLISHING                         §
LLC,                                                §
          Defendant.                                §


                 PLAINTIFF’S RESPONSE AND BRIEF IN OPPOSITION TO
                  DEFENDANT’S MOTION FOR SUMMARY JUDGMENT


        COMES NOW, Plaintiff Bronchee Cathcart, by and through his counsel, and files this

response in opposition to Defendant’s Motion for Summary Judgment and Brief in Support (Dkt.

Nos. 16 and 17). Plaintiff would urge the Court to deny the motion as to Cathcart’s claims under

the Family & Medical Leave Act (retaliation) and as to disability discrimination under Texas

Labor Code Chapter 21. Cathcart is waiving his claim for FMLA interference.




Cathcart v. YP Advertising & Publishing / Plaintiff’s Response to Defendant’s MSJ                       1
  Case 3:16-cv-02084-M Document 21 Filed 05/12/17                             Page 2 of 13 PageID 297



                                          TABLE OF CONTENTS

I. SUMMARY OF RESPONSE …… 3

II. SUMMARY OF BACKGROUND FACTS …… 4

III. OBJECTIONS …… 7

IV. LEGAL STANDARD FOR CATHCART’S CLAIMS …… 7

        FMLA Retaliation …… 7

        TCHRA Disability Discrimination …… 8

V. ARGUMENT & AUTHORITIES …… 8

        A. YP demonstrated no genuine intention of returning Cathcart to work. … 8

        B. YP denied Cathcart the opportunity to examine and dispute alleged
        unauthorized claims, that is provided to non-disabled employees. …… 9

        C. The proffered reason for termination – the 4 final alleged unauthorized claims –
        is not legitimate. …… 11

        D. Cathcart’s lost wages claim should not be cut off at January 31, 2016. …… 13

PRAYER FOR RELIEF …… 13




Cathcart v. YP Advertising & Publishing / Plaintiff’s Response to Defendant’s MSJ                       2
  Case 3:16-cv-02084-M Document 21 Filed 05/12/17                             Page 3 of 13 PageID 298



                                     I. SUMMARY OF RESPONSE

        With respect to Cathcart’s retaliation claim under the Family & Medical Leave Act as

well as disability discrimination under the Chapter 21 of the Texas Labor Code, Cathcart asserts

that YP had no intention of returning him to work. The critical issue in this case is the fact that

Cathcart was terminated upon his return from medical leave. Because he was out on medical

leave due to a disability, YP intentionally denied him the opportunity to research and dispute the

bases on which they claim he was terminated. This is a benefit was provided to all of Cathcart’s

non-disabled colleagues in the normal course of their work. Not only does Cathcart dispute that

he engaged in unauthorized claims, but YP cannot show anything to substantiate that Cathcart

did anything wrong, making their proffered reason for termination not legitimate. Instead of

treating him as any non-disabled employee and returning him to work, with an opportunity to

work with his manager and review the allegedly unauthorized claims to dispute them, they let

him return to work on a pro forma basis and promptly fired him. YP retaliated against him

because he, as a disabled person, was no longer useful for their declining business. YP deemed

him disposable and used his disability-related leave as an opportunity to shed one more sales rep

from its faltering business. YP retaliated against him for taking FMLA leave and discriminated

against him due to his disability under Chapter 21 of the Texas Labor Code. The Court should

deny YP’s summary judgment motion as to those claims.




Cathcart v. YP Advertising & Publishing / Plaintiff’s Response to Defendant’s MSJ                       3
    Case 3:16-cv-02084-M Document 21 Filed 05/12/17                           Page 4 of 13 PageID 299



                                 II. SUMMARY OF BACKGROUND FACTS

        Cathcart worked in sales with advertiser YP. He generally agrees with the facts as set out

by YP, until the description of events beginning in October 2014.

        He has had diverticulitis since 2008, and had told YP upon hire. Exh. A, 144:25-145:14.

He had already missed a substantial period of work previously when he was in the hospital in

December 2013- January 2014. Id. YP is correct about the basis for Cathcart’s sudden, final

period of disability leave – he found out on October 9, 2014 during a routine dentist appointment

that his blood pressure was dangerously high, and went out on leave beginning the following

day. Both his diverticulitis and his hypertension are disabilities under the Americans With

                                                      Disabilities Act (and therefore Chapter 21 of the

                                                      Texas Labor Code as well). His October 10, 2014

                                                      leave may very well have taken YP by surprise.

                                                      However, in a Confidential Record of Discussion

(akin to a “write up”) that had been drafted on or before October 6, 2014 on Cathcart – three

days before he found out he needed disability leave – YP already, amazingly references his CRD

as a “Disability”-related CRD. YP’s MSJ Appendix, Dkt. No. 18, Exh. G, pgs. 38-40 (also see

insert above). This shows that YP was already thinking about Cathcart as a disabled burden to

the company, given his announced medical conditions and prior medical leave.1

        The Court should keep in mind that during that time that Cathcart worked for YP, the

company was in the process of consolidating and downsizing, as its revenues were decreasing.


1
  In its Motion for Summary Judgment, YP claims that “[a]ll evidence proves that YP was contemplating
termination before Cathcart ever requested FMLA leave.” Dkt. No. 17, p. 17. This is essentially false.
Tiffany Ruff, who terminated Cathcart, testified that Cathcart was not going to be terminated based on the
 incidents described in the October 6, 2014 CRD (which was only 4 days prior to his final disability
leave)”, and that he was terminated only based on the alleged incidents in the final, April 2, 2015 CRD.
Exh. B, 49:18-50:10.


Cathcart v. YP Advertising & Publishing / Plaintiff’s Response to Defendant’s MSJ                       4
  Case 3:16-cv-02084-M Document 21 Filed 05/12/17                             Page 5 of 13 PageID 300



Exh. B, 32:22 - 33:5; 62:10-64:19. In fact, during Cathcart’s employment, 7 managers at his

worksite were laid off at one time. Exh. B, 32:22 - 33:5. By January 31, 2016, approximately 10

months after Cathcart’s termination, YP closed his worksite, laid off most – but not all - of the

sales reps, and moved those remaining sales reps to another worksite. Exh. B, 15:19-16:21;

62:10-64:19. YP had every motivation to find an excuse to shed people like Cathcart, who had

undoubtedly caused his managers inconvenience with his disability-related leave events and

unpredictable medical circumstances. They didn’t even replace him after they fired him. Exh. C,

YP’s Response to Interrogatory No. 3.

        In its recitation of alleged facts, YP goes to great lengths to describe Cathcart’s

disciplinary history with YP. That’s understandable in a wrongful termination case – but it’s not

really relevant here. Regardless of whether the prior alleged unauthorized claims scored against

Cathcart in the past are accurate or not – Cathcart does not dispute that as of October 2014, he

was aware that he could be terminated for future unauthorized claims. However, YP had no

genuine intention of returning him to work after his leave, and in fact denied him opportunities

provided to other sales reps who are not disabled in order to ensure they could generate a

purported basis to terminate him.

        Cathcart was, for all practical purposes, off work from October 10, 2014, through April 2,

2015. Exh. A, 86:22-25. He was unable to perform the functions of his position from October 10,

2014 through March 12, 2015. Exh. A, 110:3-6. He returned on or around March 11, 2015, to

what he thought was his job. However, he couldn’t log in using his standard credentials and was

not able to get back to his work that day. Exh. A, 136:8-137:6. Tiffany Ruff, a Senior Sales

Manager who was, in her words, responsible for “pretty much the entire operations of the call

center,” sent him home around noon since he had no login access. Exh. A, 106:7-21. The




Cathcart v. YP Advertising & Publishing / Plaintiff’s Response to Defendant’s MSJ                       5
     Case 3:16-cv-02084-M Document 21 Filed 05/12/17                          Page 6 of 13 PageID 301



following day, he returned, and Ruff sent him home with a medical questionnaire to be

completed by his physician regarding his return to work status. Exh. A, 106:24-107:13. Ruff then

authorized Cathcart to return to work on April 2, 2015, at which time she promptly terminated

him. Exh. A, 110:15-112:12. He was fired with zero chance to review the purported unauthorized

claims that allegedly were the basis for his termination.

                                              III. OBJECTIONS

1.      Cathcart hereby OBJECTS on the basis of HEARSAY to the internal YP data listed next

to each account name (Corbitt, Aroesty, ETC and Hardin) in the April 2, 2015 CRD, attached to

YP’s MSJ Appendix (Dkt. No. 18) as Exh. H (pgs. 041-042). These notations were not written

by Ruff, and Ruff has no first-hand knowledge on any of these accounts and Cathcart’s activity

with respect to any of these accounts except the Corbitt account. Exh. B, 79:25-81:7; see also

Exh. C, YP’s Responses to Interrogatory Nos. 4, 5 and 6, showing the names of the individuals

who apparently created these records. Therefore, that content is hearsay and should be stricken

from the exhibit. It is being offered for the truth of the matter asserted – to demonstrate a

purported “legitimate, non-discriminatory basis” for firing him – and is therefore inadmissible.

                    IV. LEGAL STANDARD FOR CATHCART’S CLAIMS2

FMLA Retaliation:3 To survive summary judgment under the mixed-motive burden-shifting

framework, an employee must first make a prima facie case of FMLA retaliation. Richardson v.

Monitronics Int’l, Inc., 434 F.3d 327, 333 (5th Cir. 2005). The burden then shifts to the employer

to articulate a legitimate, nondiscriminatory reason for the adverse employment action. Id. If the

employer carries this burden, the burden shifts once more to the employee to offer sufficient

2
  As the Court is well aware of the summary judgment standard under FRCP 56, Cathcart will not repeat it
here.
3
  Although Cathcart was returned to work only long enough to fire him, Cathcart believes such conduct is
better characterized as a retaliation claim, and therefore will not respond on the issue of FMLA
interference in his response.


Cathcart v. YP Advertising & Publishing / Plaintiff’s Response to Defendant’s MSJ                       6
  Case 3:16-cv-02084-M Document 21 Filed 05/12/17                             Page 7 of 13 PageID 302



evidence to create a genuine issue of fact that the employer’s reason, although true, is but one of

the reasons for its conduct, another of which was discrimination. Ion v. Chevron USA, Inc., 731

F.3d 379, 390 (5th Cir. 2013). Cathcart presumes that all three prongs are in contention.

TCHRA Disability Discrimination: The ADAAA prohibits discrimination in employment

against a qualified individual on the basis of his disability. 42 U.S.C. § 12112(a). The ADAAA

and TCHRA both prohibit disability discrimination and “Texas courts look to analogous federal

precedent for guidance when interpreting the [TCHRA].” Rodriguez v. ConAgra Grocery Prods.

Co., 436 F.3d 468, 473-74 (5th Cir. 2006) (quotations omitted). Thus, federal courts look to

federal precedent in decisions on the ADAAA in interpreting the TCHRA. Id. To recover under

the ADA, the plaintiff must prove that he was discriminated against on the basis of his

disability. See Holtzclaw v. DSC Commc’ns Corp., 255 F.3d 254 258 (5th Cir. 2001); McInnis v.

Alamo Cmty. Coll. Dist., 207 F.3d 276, 282 (5th Cir. 2000); Gonzales v. City of New Braunfels,

176 F.3d 834, 836 (5th Cir. 1999). Since plaintiff has adduced only circumstantial evidence to

prove his disability discrimination claim under his TCHRA claims, the McDonnell Douglas

burden-shifting framework applies and to prevail on these claims, plaintiff must prove: (1) he has

a disability, (2) he is qualified for the job, and (3) defendant made an adverse employment

decision because of plaintiff’s disability. Neely v. PSEG Texas, Ltd. P’ship, 735 F.3d 242, 245

(5th Cir. 2013). Based on YP’s Motion for Summary Judgment, only the third prong appears to

be in contention.

                                   V. ARGUMENT & AUTHORITIES

A. YP demonstrated no genuine intention of returning Cathcart to work.

        There is more than a scintilla of evidence that YP had no intention of genuinely restoring

Cathcart to work after either his FMLA leave, or his overall disability-related leave:




Cathcart v. YP Advertising & Publishing / Plaintiff’s Response to Defendant’s MSJ                       7
     Case 3:16-cv-02084-M Document 21 Filed 05/12/17                          Page 8 of 13 PageID 303



1)      The YP internal notations on one of the accounts that allegedly caused Cathcart’s

termination, refers to him – on December 8, 2014, before his FMLA leave had even expired – as

a “going away rep” – meaning, that he is on his way out of the company. Exh. A, 184:3-6; YP’s

MSJ Appendix Exh. H, pgs. 41-42 (Dkt. No. 18) (see also, insert below).




2)      In another such YP internal notation, from January 23, 2015, the YP service rep states

that Cathcart is no longer with the company. Id. (see also, insert below).




3)      Ruff testified that when an employee returns from extended medical leave, they are

assigned new accounts to work when they return. Although Ruff told him to return to work on

April 2, nothing at all had been done during his entire leave period to assign him accounts for his

return. Exh. B, 64:8-64:19. In fact, Ruff suggested that Cathcart’s accounts would have been

assigned to other sales reps, and that she couldn’t guarantee that he would have any accounts to

return to after his leave. Exh. B. 16:61-24.

4)      The October 6, 2014 CRD (reissued on April 2, 2014 by YP’s strikethrough and

notations), literally referred to his write-up as a “Disability” write-up – before Cathcart even

went on the unexpected final period of medical leave. Defendant’s MSJ Appendix, Dkt. No. 18,

Exh. G (pgs. 38-40).

B. YP denied Cathcart the opportunity to examine and dispute alleged unauthorized
claims, that is provided to non-disabled employees .




Cathcart v. YP Advertising & Publishing / Plaintiff’s Response to Defendant’s MSJ                       8
  Case 3:16-cv-02084-M Document 21 Filed 05/12/17                             Page 9 of 13 PageID 304



In her declaration attached to YP’s Motion for Summary Judgment, Ruff said the following,

about the opportunity for sales reps to dispute alleged unauthorized claims:

        11. YP sales team members have multiple opportunities to dispute unauthorized claims.
        They may first dispute the claim at the time their supervisor addresses it. If they dispute
        the claim, the claim and dispute are reviewed by YP management. If YP management
        rejects the dispute at that point, the sales team member may appeal the decision.

        12. If YP detects an unauthorized claim when a sales team member is on leave,
        depending on the level of seriousness, YP generally waits until the sales team member
        returns to work to address the claim with the team member.

(Dkt No. 18, p. 7.) In addition, both Ruff and Cathcart testified extensively on the steps that a

sales rep could and would take to determine whether or not an unauthorized claim was

substantiated, including reviewing the voice verifications, recorded calls, and faxes from the

customers. Exh. B, 21:2-30:10; Exh. A, 184:15-187:16. Ruff testified that a sales rep is typically

given at least an opportunity to research the claim before they’re terminated based on that claim,

and they’re permitted to do this research during work time. Exh. B, 83:3-13. YP refused to

provide Cathcart with these opportunities due to his disability and/or disability-related leave. “In

assessing discriminatory motive [in an FMLA retaliation action], a court may also consider other

factors, including ... ‘[d]epartures from the normal procedural sequence ...’ ” Hudgens v. Gen.

Dynamics Corp., 144 F.3d 151, 168–69 (1st Cir.1998), citing Reno v. Bossier Parish Sch. Bd.,

520 U.S. 471, 489 (1997). Furthermore, there is a fact issue as to whether YP, in good faith,

reasonably believed the customer’s alleged reports of complaints, given that they refused to

allow Cathcart to research the allegations before his termination. See Brown v. Louisiana Lottery

Corp., 240 F. Supp. 2d 590, 598 (M.D. La. 2002) (fact issue as to whether employer believed

another’s story about the plaintiff-employee reasonably, and in good faith).

        When Cathcart returned to work on April 2, 2015, Ruff read to him, word-for-word, the

CRD dated April 2, 2015, at Defendant’s MSJ Appendix, Exh. H (pgs. 41-43), which ends by



Cathcart v. YP Advertising & Publishing / Plaintiff’s Response to Defendant’s MSJ                       9
  Case 3:16-cv-02084-M Document 21 Filed 05/12/17                            Page 10 of 13 PageID 305



terminating him, and instructing Cathcart to pack up his things and leave. Exh. B, 52:13-16. She

provided Cathcart with absolutely no opportunity to review or dispute his claims. Furthermore,

she had already prepared it before he returned from leave. Exh. B, 50:14-21; 51:24-52:3. The

fact that Cathcart was terminated immediately upon his return is probative evidence of

retaliation. See Carroll v. Sanderson Farms, Inc., 2012 WL 3866886, at *20 (S.D. Tex. Sept. 5,

2012) (employee terminated the day she returned from FMLA leave was a “highly suspicious”

“temporal connection”). When evaluating whether the adverse employment action was causally

related to the FMLA protection, the court shall consider the temporal proximity between the

FMLA leave, and the termination. Mauder v. Metro. Transit Auth. of Harris Cty., Tex., 446 F.3d

574, 583 (5th Cir. 2006). Temporal proximity is sufficient for a prima facie showing of FMLA

retaliation. Lister v. Nat'l Oilwell Varco, L.P., No. CIV.A. H-11-01, 2013 WL 5515196, at *30

(S.D. Tex. Sept. 30, 2013); see also Grubb v. Sw. Airlines, 296 F. App’x 383, 390 (5th Cir. 2008)

(employee fired 2 weeks after FMLA leave request demonstrated a prima facie FMLA retaliation

case).

         Shockingly, YP has a policy that punishes someone like Cathcart for being off work for

too long of a period while an allegation of an unauthorized claim is pending. Exh. B, 83:23-85:4.

If the employee doesn’t return in time to review and potentially dispute the claim, it will, by

default, be counted against them, as these 4 final claims were counted against Cathcart. Id. While

Ruff suggested that the same thing that happened to Cathcart could happen to someone on

vacation leave, she admitted that she had never seen anyone terminated upon returning from

vacation based on an unauthorized claim that they didn't have time to review. Id. What happened

to Cathcart was unique, and was related directly to the fact that he was on disability leave.

C. The proffered reason for termination – the 4 final alleged unauthorized claims – is not
legitimate.



Cathcart v. YP Advertising & Publishing / Plaintiff’s Response to Defendant’s MSJ                   10
  Case 3:16-cv-02084-M Document 21 Filed 05/12/17                            Page 11 of 13 PageID 306




        Ruff makes it clear that Cathcart was ultimately terminated based on the 4 alleged

unauthorized claims in the CRD dated April 2, 2015, included as Exh. H (pgs. 182-183) in YP’s

MSJ Appendix, Dkt. No. 18. Exh. B, 53:22-54:11. Those four accounts are Corbitt, Aroesty,

ETC, and Harden.

        First, without the hearsay within YP’s MSJ Appendix Exh. H (Dkt. No. 18, pgs. 41-43),

YP has presented no basis to support the claimed reason for termination. In fact, the purported

notes for the ETC account don’t even mention Cathcart. Exh. A, 67:1-25. And the purported

notes for the Aroesty account do not state when and how the customer supposedly canceled the

account. Exh. A, 77:16-78:4. If the customer had left Cathcart a voicemail cancelling the account

– which does occur – while he was on leave, that would not be a legitimate basis to terminate

him. Exh. A, 77:21-25. Again, YP provided Cathcart with no opportunity to review the

allegations – they just fired him, unlike what they do for non-disabled employees who do not

take such leave. And Ruff testified she has no firsthand knowledge of any events connected to

the Aroesty, ETC or Hardin accounts.

        And, in the event the data on the Corbitt account is deemed admissible evidence, the

notation shows clearly that Cathcart was scheduled to terminate the Corbitt account as of

October 10, 2014. Defendant’s MSJ Appendix, Dkt. No. 18, Exh. H (p. 182). However, as YP

knows, Cathcart was already on emergency medical leave at that time and therefore wasn’t

present at work to do such a cancellation on October 10. Exh. B, 61:5-7. Therefore, at that point,

Ruff admits that Cathcart’s supervisor, Patty Williams, was responsible for the account. Exh. B,

61:5-7; 60:14-25. Although YP claims that Cathcart hasn’t shown that he wasn’t responsible for

the unauthorized claims, Cathcart denied that he was responsible for any purported unauthorized

claims or that the customers in question requested cancellations. Exh. A, 183:15-190:5.



Cathcart v. YP Advertising & Publishing / Plaintiff’s Response to Defendant’s MSJ                   11
  Case 3:16-cv-02084-M Document 21 Filed 05/12/17                            Page 12 of 13 PageID 307



Furthermore, Ruff repeatedly testified that she has no idea where any of the materials that would

be used to verify YP’s allegations – the recorded calls, faxes from the customers, voice mails,

etc. – are located or if they even still exist (presuming they ever did). Exh. B, 27:22-28:2; 33:13-

20; 67:12-68:2.

D. Cathcart’s lost wages claim should not be cut off at January 31, 2016.

        Ruff testified that, although Cathcart’s worksite was closed as of January 31, 2016, and a

majority of the sales reps were laid off, YP retained some of the sales reps to continue working

for YP at another location. There is a fact issue as to whether Cathcart may have continued at

another YP work location like some of his colleagues.

                                          PRAYER FOR RELIEF

        WHEREFORE, PREMISES CONSIDERED, Plaintiff Cathcart requests that the Court

deny YP’s Motion for Summary Judgment as to Cathcart’s FMLA retaliation claim and

Cathcart’s Texas Labor Code Chapter 21 disability discrimination claim, and grant Cathcart any

other relief to which he may be entitled.



                                                     Respectfully Submitted,

                                                     /s/ Kerry V. O’Brien
                                                     Kerry V. O’Brien
                                                     Texas Bar No. 24038469
                                                     Board Certified in Labor & Employment Law by the TBLS




                                                     1011 Westlake Drive
                                                     Austin, Texas 78746
                                                     email: ko@obrienlawpc.com
                                                     phone: (512) 410-1960
                                                     fax: (512) 410-6171

                                                     COUNSEL FOR PLAINTIFF




Cathcart v. YP Advertising & Publishing / Plaintiff’s Response to Defendant’s MSJ                            12
  Case 3:16-cv-02084-M Document 21 Filed 05/12/17                            Page 13 of 13 PageID 308




                                      CERTIFICATE OF SERVICE

       I hereby certify that on this, the 12th day of May 2017, the foregoing document was
served via the CM/ECF system to the following registered users:

Janet A. Hendrick
FISHER & PHILLIPS LLP
500 North Akard St., Suite 3550
Dallas, TX 75201
Phone: (214) 220-8326
Fax: (214) 220-9122
Email: jhendrick@laborlawyers.com

COUNSEL FOR DEFENDANT


                                                              /s/ Kerry V. O’Brien
                                                              Kerry O’Brien




Cathcart v. YP Advertising & Publishing / Plaintiff’s Response to Defendant’s MSJ                   13
